     CASE 0:18-cv-00939-WMW-DTS Document 16 Filed 04/16/18 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



James Bruner, et al.,                       Case No. 0:18−cv−00939−WMW−DTS
                           Plaintiffs,
v.
                                               NOTICE OF APPEARANCE
Polaris Industries, Inc., et al.,
                            Defendants.



      PLEASE TAKE NOTICE that Karl L. Cambronne of Chestnut Cambronne

PA, notifies the Court, parties, and counsel that he will appear as counsel of

record for Plaintiffs James Bruner, Michael Zeeck, and Ed Beattie in the above-

captioned matter.


Dated: April 16, 2018                CHESTNUT CAMBRONNE PA



                                     By s/ Karl L. Cambronne
                                         Karl L. Cambronne, #14321
                                         17 Washington Avenue North, Suite 300
                                         Minneapolis, MN 55401
                                         (612) 339-7300
                                         kcambronne@chestnutcambronne.com

                                     ATTORNEYS FOR PLAINTIFFS JAMES
                                     BRUNER, MICHAEL ZEECK,
                                     and ED BEATTIE
